     Case 2:08-cr-00178-LRS    ECF No. 222   filed 06/10/09   PageID.597 Page 1 of 2




1
2
3
4
5
6
                               UNITED STATES DISTRICT COURT
7
                              EASTERN DISTRICT OF WASHINGTON
8
9     UNITED STATES OF AMERICA,                 )
                                                )    No. CR-08-178-LRS-5
10                      Plaintiff,              )
                                                )       ORDER MODIFYING
11    v.                                        )    CONDITIONS OF RELEASE
                                                )
12    NATALIE J. NIVENS,                        )    R        MOTIONS GRANTED
                                                )             (Ct. Rec. 208 & 210)
13                      Defendant.              )
                                                )
14
           At the June 10, 2009 status hearing, Defendant appeared with
15
     CJA counsel, Tim Trageser; Assistant U.S. Attorney Russ Smoot
16
     represented the United States. Defense counsel presented the Motion
17
     to Modify Conditions of Release (Ct. Rec. 208) and Motion to Shorten
18
     Time (Ct. Rec. 210), which motions were unopposed by the Government.
19
           The    court,      having   considered      the     unopposed   proffer     of
20
     Defendant, finds that defendant has completed a 30 day inpatient
21
     treatment     program,      and   an    intensive        outpatient   program     is
22
     recommended.
23
           Accordingly, the court grants the unopposed Motion to Modify
24
     Conditions of Release (Ct. Rec. 208) and Motion to Shorten Time (Ct.
25
     Rec. 210).     The Order Setting Conditions of Release is modified to
26
     the limited extent of allowing defendant to reside with her mother,
27
     Ms. White.    All other conditions of the court's Order dated May 21,
28

     ORDER MODIFYING CONDITIONS
     OF RELEASE - 1
     Case 2:08-cr-00178-LRS    ECF No. 222   filed 06/10/09   PageID.598 Page 2 of 2




1    2009 remain and shall constitute the additional conditions of
2    Defendant's release.        Pretrial Services is authorized to determine
3    if and when Ms. Niven may be away from home detention to attend
4    school.
5          IT IS SO ORDERED.
6          DATED June 10, 2009.
7
                                    S/ CYNTHIA IMBROGNO
8                             UNITED STATES MAGISTRATE JUDGE
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     ORDER MODIFYING CONDITIONS
     OF RELEASE - 2
